Case 6:11-cv-00089-GKS-GJK Document 11 Filed 05/16/11 Page 1 of 1 PagelD 34

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

Chris Siegle,
Plaintiff

VS.

LTD Financial Services, LP,
Defendant.

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ORLANDO DIVISON

Case No. 6:11-cv-00089-GK5-GJK

NOTICE OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE UNITED STATES DISTRICT COURT:

Pursuant to Fed. R. Civ. P. 41 Plaintiff hereby stipulates to and gives notice

of the dismissal with prejudice of the above-entitled and numbered action.

Respectfully submitted,

Andrew 1. Glenn

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